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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF LOUISIANA

LAFAYETTE DIVISION

PREPARED FOOD PHOTOS, INC., f/k/a ADLIFE )
MARKETING & COMMUNICATIONS CoO., INC., )
)

Plaintiff, )

)

v. ) No. 6:24-cv-00351-RRS-DGA

)

CLYDE’S CHICKEN KING, INC. d/b/a )
CHICKEN KING, )
)

Defendant. )

AFFIRMATION OF MARTHA SOLT

1. My name is Martha Solt. Iam Public Citizen Litigation Group’s Office Assistant.

2. I received from Paul Levy a spreadsheet that he told me Prepared Food Photos had
produced in discovery, entitled “One-Off Infringement Tracking Sheet.” One of the columns in
that spreadsheet contained amounts of money that had been paid to the plaintiff in settlement of
its demands for damages. The first date on the spreadsheet was April 24, 2019.

3. Mr. Levy asked me to total the amounts of settlements reported for each year. For the
year 2019, beginning in April and ending December 31, 2019, the total amount of settlements
was $317,055.

Pursuant to 28 U.S.C.§ 1746, I hereby affirm that

the foregoing is true and correct. Executed on May
14, 2024.

Lice Ee

Martha Solt

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